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SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-274-
CV



IN RE GERALD STAVELY	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL A
: DAUPHINOT, J.; CAYCE, C.J.; and GARDNER, J.



DELIVERED: October 6, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




